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  AO 248 (Rev. S.D. Ind. 09/20) ORDER ON MOTION FOR SENTENCE REDUCTION UNDER 18 U.S.C. § 3582(c)(1)(A)



                              UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF INDIANA

   UNITED STATES OF AMERICA                                    Case No. 1:16-cr-2-JMS-TAB-15

                                                               ORDER ON MOTION FOR
   v.                                                          SENTENCE REDUCTION UNDER
                                                               18 U.S.C. § 3582(c)(1)(A)
   JEMEL WILLIS                                                (COMPASSIONATE RELEASE)


         Upon motions of ☒ the defendant ☐ the Director of the Bureau of Prisons for a reduction

  in sentence under 18 U.S.C. § 3582(c)(1)(A), and after considering the applicable factors provided

  in 18 U.S.C. § 3553(a) and the applicable policy statements issued by the Sentencing Commission,

  IT IS ORDERED that the motions are:

  ☒ GRANTED. The defendant's previously imposed sentence of imprisonment of 78 months is

  reduced to time served as of January 4, 2021. The term of supervised release remains 3 years.

         ☒The defendant must provide the complete address where the defendant will reside upon

         release to the probation office in the district where the defendant will be released.

         ☒ The defendant's previously imposed conditions of supervised release as set forth in the

         judgment of November 21, 2017, are unchanged except as follows:

         The first 90 days of the defendant's supervised release will be served on conditions of home

         detention. The defendant is ordered to comply with any period of quarantine due to the

         COVID-19 pandemic as directed by medical staff and/or any state or local health authority.

  ☒ OTHER:

  The Bureau of Prisons is ordered to release the defendant by 4:00 p.m. on January 4, 2021. The

  defendant's USM Number is 15402-028. Counsel for the United States is ordered to transmit this

  Order to the defendant's custodian no later than 5:00 p.m. on December 31, 2020.
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  ☒ FACTORS CONSIDERED: See contemporaneously filed sealed Entry.

  IT IS SO ORDERED.




              Date: 12/30/2020




  Distribution:

  All Electronically Registered Counsel
